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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                     CASE № 16-20549-CR-SCOLA
   UNITED STATES OF AMERICA,
                  Plaintiff,
   vs.
   ODETTE BARCHA,
                  Defendant.
                                               /

                      ODETTE BARCHA’S MOTION FOR COMPASSIONATE
                        RELEASE UNDER 18 U.S.C. § 3582(C)(1)(A)

         The Defendant, ODETTE BARCHA, by and through undersigned counsel,

   respectfully moves this Court to grant her motion for compassionate release pursuant to

   the newly-amended 18 U.S.C. § 3582(c)(1)(A) and the current COVID-19 Pandemic and

   to issue an order stating that the remainder of her sentence be served on home

   confinement. As grounds therefore, we aver the following:

         Pursuant to the First Step Act, the Court has jurisdiction to determine whether

   “extraordinary and compelling reasons” warrant a sentence reduction after consideration

   of the 18 U.S.C. 3553(a) sentencing factors and the Sentencing Commission’s policy

   statement on reduction of sentence in U.S.S.G. 1B1.13. The fact that ODETTE BARCHA

   (hereafter “MS. BARCHA“) is not a danger to the community and suffers from a serious

   chronic underlying disease, Lupus1, which makes her immunocompromised and thus at

   great risk for not only contracting but also succumbing to COVID-19, causes her to fall



         1
                  See PSR, ECF № 1149, at page 21, ¶ 86.
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   squarely within the Sentencing Commission’s standards for reduction of sentence. In

   addition to Lupus, Ms. BARCHA suffers from a comorbidity of other underlying medical

   issues, including rheumatoid arthritis, diverticulosis and hypertension, which enhance her

   susceptibility to the coronavirus. We respectfully ask the Court to consider this motion on

   an expediated basis as each day in custody brings a renewed and unthinkable risk to MS.

   BARCHA’S life.

                                                     I.
                                                 BACKGROUND

          On January 23, 2019, MS. BARCHA accepted responsibility for her actions and

   pleaded guilty to conspiracy to defraud the United States and pay and receive health care

   kickbacks, in violation of 18 U.S.C. § 371. Thereafter, MS. BARCHA served as a critical

   government witness at the trial of Philip Esformes, United States v. Esformes, 16-cr-

   20549-Scola. On April 3, 2019, MS. BARCHA was sentenced to fifteen (15) months

   imprisonment, (ECF № 1242). Thereafter, MS. BARCHA filed several unopposed motions

   to continue her surrender date due to her continued cooperation with the government.

   Furthermore, during the entire time MS. BARCHA was out of custody (pretrial and post-

   sentencing) she was hyper-compliant with all the terms of her supervised release. MS.

   BARCHA is currently serving her prison sentence at FCI Aliceville in Aliceville, Alabama.

          On March 31, 2020, MS. BARCHA filed an administrative relief request with FCI

   Aliceville likewise seeking compassionate release in Alabama. A copy of the herein

   referenced request is attached hereto and incorporated by reference as Exhibit № 1. We

   respectfully ask the Court to waive the 30-day waiting period for any response by the

   Warden because waiting for a response could cost MS. BARCHA’S life. This is especially
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   true since inmates at FCI Aliceville have reported having great difficulty getting any type

   of response from the Warden regarding their administrative relief request due to the

   COVID-19 virus,

          ‘We inmates want Trump and William Barr to release non-violent, minor
          crimes, and elderly inmates, just like the state and counties are doing,’ Lisa
          Marie Casey, a 45-year-old, wheelchair-bound inmate serving a 24-month
          sentence at FCI Aliceville, a federal women's prison in Alabama, wrote in
          an email to Reason today. ‘Warden [Patricia] Bradley is not taking anyone's
          compassionate release requests, as I have sent in three with medical
          documentation […] and still nothing. I am not the only one.’

   Reason (April 8, 2020), available at https://reason.com/2020/03/24/advocates-and-
   lawmakers-urge-trump-administration-to-release-elderly-inmates-vulnerable-to-
   coronavirus/.
                                             II.
                          ARGUMENT AND MEMORANDUM OF LAW

          The passage of section 603 of the First Step Act in 2018 changed the process by

   which § 3582(c)(1)(A) compassionate release occurs: instead of depending upon the

   BOP Director to determine an extraordinary circumstance and move for release, a court

   can now resentence “upon motion of the defendant,” after the inmate exhausted

   administrative remedies with the BOP, or after 30 days from the receipt of the inmate’s

   request for compassionate release with the warden of the defendant’s facility, whichever

   comes earlier. 18 U.S.C. § 3582(c)(1)(A). Thus, under the First Step Act, a court may now

   consider the defendant’s own motion to be resentenced, without waiting for it to be made

   by the BOP.

          Courts are now authorized to consider a defendant’s motion, even one which the

   BOP opposes, and order resentencing if a resentencing court finds that “extraordinary

   and compelling reasons” warrant a reduction and such a reduction is consistent with the

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   Section 3553(a) factors. Id. Resentencing courts are also advised that any decision to

   reduce a previously ordered sentence be “consistent with applicable policy statements

   issued     by   the    Sentencing        Commission.”          Id.      Here,      given     COVID-19     and

   MS. BARCHA’S chronic health conditions, “extraordinary and compelling reasons” exist

   which warrant a sentence reduction consistent with Section 3553(a) factors.

            On April 1, 2019, MS. BARCHA filed a sentencing memorandum (ECF № 1215),

   wherein she sought a three (3) month variance to the recommended guideline sentence

   based on her pre-existing medical conditions, which significantly compromise her physical

   health. Due to this unparalleled health crisis in our country and its expected widespread

   arrival in our prisons, coupled with MS. BARCHA’S fragile physical health, we are extremely

   concerned that when (and not if) COVID-19 spreads into FCI Aliceville it will be a death

   sentence for MS. BARCHA. MS. BARCHA is fifty-three (53) years old and is suffering from

   a comorbidity of medical issues that include: Lupus, hypertension, rheumatoid arthritis,

   and diverticulosis.

            Terrence Windham, a union representative, corrections officer and an Aliceville

   city councilman has already expressed concerns about the possibility of the virus

   spreading in FCI Aliceville,

            ‘Mainly my concerns are that we don’t have equipment including cleaning
            supplies and testing supplies,’ Windham said. ‘If someone does have
            Coronavirus that they are being tested and isolated so it won’t spread to the
            inmate population and most importantly to the staff members.’ Windham
            believes the prison does not have enough cleaning supplies and face
            masks. ‘It is their responsibility to make sure we have all the cleaning
            supplies that we need,’ he said. ‘The standard cleaning supplies the bureau
            uses is a little watered down compared to your average Clorox or Lysol
            would be. So those are the concerns we have as far as trying to clean up
            this virus as well.’
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   Mr. Windham’s concerns are valid. Prisons are ill-equipped to prevent the spread of

   COVID-19. Public health experts recommend containing the virus through measures

   such as social distancing, frequently disinfecting shared surfaces, and frequently washing

   hands or using hand sanitizer.2 Joseph J. Amon, an infectious disease epidemiologist

   and Director of Global Health and Clinical Professor in the department of Community

   Health and Prevention at the Drexel Dornsife School of Public Health, has studied

   infectious diseases in detention settings and states:


          Detention facilities have even greater risk of infectious spread because of
          conditions of crowding, the proportion of vulnerable people detained, and
          often scant medical care. People live in close quarters and are also subject
          to security measures which prohibit successful ‘social distancing’ that is
          needed to effectively prevent the spread of COVID-19. Toilets, sinks, and
          showers are shared, without disinfection between use. Food preparation
          and food service is communal, with little opportunity for surface disinfection.
          The crowded conditions, in both sleeping areas and social areas, and the
          shared objects (bathrooms, sinks, etc.) will facilitate transmission. Amon
          Decl. ¶ 20, Def. Reply Br. Ex. A, ECF No. 134-1. Some jails and prisons
          have already become COVID-19 hotspots. For instance, the infection rate
          in New York City jails is far outpacing the infection rate in the city as a
          whole.3 FCI Oakdale, a BOP facility in Louisiana, recently ‘exploded with
          coronavirus’ cases, leading to the death several inmates and positive test
          for many.




          2
                  See, e.g., How to Protect Yourself, Centers for Disease Control & Prevention,
   https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html; Dr. Asaf Bitton,
   Social distancing in the coronavirus pandemic — maintaining public health by staying apart,
   Boston Globe (Mar. 14, 2020), https://www.bostonglobe.com/2020/03/14/opinion/social-
   distancing-coronavirus-pandemic-maintaining- public-health-by-staying-apart/.

          3
                  See Elizabeth Weill-Greenberg, New York City Jails Have an Alarmingly High
   Infection Rate, According to an Analysis by the Legal Aid Society, The Appeal (Mar. 26, 2020),
   https://theappeal.org/new-york-city-jails- coronavirus-covid-19-legal-aid-society/.


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         Furthermore, now both the Attorney General and the Senate have issued

   statements indicating that inmates should be transferred to home confinement if

   vulnerable to COVID-19.          The Attorney General, although expressing confidence in

   BOP’s ability to keep inmates safe, issued a recent memorandum encouraging release

   to home confinement for inmates like MS. BARCHA who are part of the high-risk population

   for contracting and succumbing to COVID-19, are non-violent, and pose minimal

   likelihood of recidivism and thus, might be safer serving their sentences in home

   confinement rather than in BOP facilities. A copy of the Attorney General’s Memorandum

   dated March 26, 2020, is attached hereto and incorporated by reference herein as Exhibit

   № 2. The Attorney General provided the following non-exhaustive list of discretionary

   factors that should be considered when assessing whether an inmate should be granted

   home confinement:

               The age and vulnerability of the inmate to COVID-19, in accordance
         with the Centers for Disease Control and. Prevention (CDC) guidelines;

                The security level of the facility currently holding the inmate, with
         priority given to inmates residing in low and minimum-security facilities;

                The inmates conduct in prison, with inmates who have engaged in
         violent or gang-related activity in prison or who have incurred a BOP
         violation within the last year not receiving priority treatment under this
         Memorandum;

               The inmate’s score under PATTERN, with inmates who have
         anything above a minimum score bot receiving priority treatment under this
         Memorandum;

                Whether the inmate has a demonstrated and verifiable re-entry plan
         that will prevent recidivism and maximize public safety, including verification
         that the conditions under which the inmate would be confined upon release


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          would present a lower risk of contracting COVID-19 than the inmate would
          face under BOP facility;

                The inmate’s crime of convictions, and assessment of the danger
          posed by the inmate to the community. Some offenses, such as sex
          offenses, will render an inmate ineligible for home detention. Other serious
          offenses should weigh more heavily against consideration for home
          detention.

   MS. BARCHA meets every single one of the above factors delineated in Attorney General

   Barr’s Memorandum.            People with Lupus are considered immunocompromised and

   therefore, are at a greater risk for infections in general because of their underlying

   disease.           Lupus        Research         Alliance,       April      8,      2020,       available    at

   https://www.lupusresearch.org/coronavirus-disease-info-for-people-with-lupus/.                              The

   CDC has warned that people of any age who have serious underlying medical conditions

   are at a higher risk for severe illness from COVID-19. With an underlying disease like

   Lupus, which severely compromises an individual’s immune system, if MS. BARCHA’S

   contracts COVID-19 her chances of survival are extremely low. This is especially true

   since she also suffers from other chronic underlying diseases such as hypertension,

   which further compromise her ability to fight this aggressive virus.

          Furthermore, MS. BARCHA is being held at a low security facility and her conduct

   at the prison has been exceptional. MS. BARCHA, as reflected in her request to the

   Warden for administrative relief, has a demonstrated and verifiable re-entry plan that will

   prevent recidivism and maximize public safety, including verification that the conditions

   under which she will be confined upon release would present a lower risk of contracting

   COVID-19 than if she would face in FCI Aliceville. MS. BARCHA would finish the remainder

   of her home confinement sentence at the father of her child’s residences located in Miami,
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   Florida. The only other person who resides at that location is the father of her child.

   Moreover, any and all financial expenses, including medical expenses, will be paid for by

   her mother and sister. Finally, MS. BARCHA’S crime of conviction is non-violent and since

   her acceptance of responsibility she has been cooperating extensively with the

   government. Thus, she poses absolutely no risk of recidivism and is not a danger to the

   community.

         Here, while the 30-day period since the Warden’s receipt of MS. BARCHA’S request

   for compassionate release due to the threat of coronavirus infection has not yet passed,

   this Court can construe the exhaustion requirement as futile given the urgency of this

   national emergency and rapid spread of the pandemic.

                                           III.
      WAIVER OF THE 30-DAY REQUIREMENT FOR EXHAUSTION OF ADMINISTRATIVE REMEDIES
      UNDER 18 U.S.C. § 3582(C)(1)(A) BECAUSE OF THE URGENT RISK OF FATAL INFECTION

         MS. BARCHA filed her petition/request with the Warden on March 31, 2020. Under

   section 3582(c)(1)(A), MS. BARCHA would ordinarily be required to either wait 30 days

   following the Warden’s receipt of her compassionate release request, or exhaust all

   administrative remedies prior to approaching the Court, whichever happens earlier. See

   18 U.S.C. § 3582(c)(1)(A). However, the Court may waive these administrative

   exhaustion requirements, and should do so here.

         Under the First Step Act, although a prisoner seeking to alter his conditions of

   imprisonment generally must exhaust administrative remedies before resorting to judicial

   intervention – the inmate need not exhaust unavailable administrative remedies. See

   Ross v. Blake, 136 S. Ct. 1850, 1858–59 (2016) (“An inmate, that is, must exhaust

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   available remedies, but need not exhaust unavailable ones. And that limitation on an

   inmate's duty to exhaust—although significantly different from the ‘special circumstances’

   test or the old CRIPA standard—has real content. As we explained in Booth, the ordinary

   meaning of the word ‘available’ is ‘capable of use for the accomplishment of a purpose,’

   and that which ‘is accessible or may be obtained.’ *1859 532 U.S., at 737–738, 121 S.Ct.

   1819 (quoting Webster's Third New International Dictionary 150 (1993)); see also

   Random House Dictionary of the English Language 142 (2d ed. 1987) (‘suitable or ready

   for use’); 1 Oxford English Dictionary 812 (2d ed. 1989) (‘capable of being made use of,

   at one's disposal, within one's reach’); Black's Law Dictionary 135 (6th ed. 1990)

   (‘useable’; ‘present or ready for immediate use’). Accordingly, an inmate is required to

   exhaust those, but only those, grievance procedures that are ‘capable of use’ to obtain

   ‘some relief for the action complained of.’ Booth, 532 U.S., at 738, 121 S.Ct. 1819.”)

   (quotation marks omitted). Indeed, courts throughout the country have continued to waive

   the administrative exhaustion requirements under the First Step Act, where

   circumstances warrant. See Washington v. Bur. of Prisons, No. 1:19-CV-01066, 2019 WL

   6255786, at *2 (N.D. Ohio July 3, 2019) (in addressing motion for recalculation of good

   time credit under the First Step Act, the court explained that “[t]he failure to exhaust

   administrative remedies may be excused if seeking administrative remedies would be

   futile.”); United States v. Walker, No. 3:10-cr-00298-RRB-1, [Dkt. 110] (D. Or. Feb. 7,

   2019) (finding that, although the defendant failed to exhaust administrative remedies, the

   Court had jurisdiction to order recalculation of defendant’s good time credit under the First

   Step Act and to order defendant’s release if his term of imprisonment had expired); see

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    also Gurzi v. Marques, No. 18-CV-3104- NEB-KMM, 2019 WL 6481212, at *2 (D. Minn.

    Oct. 10, 2019) (despite prisoner’s failure to exhaust administrative remedies, addressing

    the merits of prisoner’s objections to his designation, in part under the First Step Act, as

    “the Court observes that it has the authority to proceed to the merits of the case rather

    than rely on a failure to exhaust when appropriate.”).

           The President of the United States and his advisers have continuously warned the

    American people that the peak of the virus during the next coming weeks could be a

    national catastrophe, projecting anywhere between 100,000 and 240,000 deaths. See

    CNBC, White House predicts 100,000 to 240,000 will die in US from coronavirus, April 9,

    2020, available at https://www.cnbc.com/2020/03/31/trump-says-the-coronavirus-surge-

    is-coming-its-going-to-be-a-very-very-painful-two-weeks.html. The futility and potentially

    irreparable harm of requiring MS. BARCHA to wait a minimum of 30 days, after the peak of

    the virus, to exhaust her administrative remedies are manifest. MS. BARCHA seeks this

    emergency relief to avoid contracting COVID-19 at FCI Aliceville where she has a high

    risk of infection: “social distancing” is impossible in the crowded facility, and disinfecting

    products are scarce. Waiting for MS. BARCHA to exhaust her administrative remedies

    during the peak of the coronavirus spread in the United States would only compound her

    risk of exposure to COVID-19.             Should she contract the virus while waiting for an

    administrative response any remedy will come too late – MS. BARCHA will be in mortal

    danger, causing her potentially irreparable physical harm, and rendering this

    compassionate release request utterly moot. The rapid spread of COVID-19 during these

    next coming weeks effectively makes the administrative remedies unavailable to MS.

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    BARCHA.       Under these extraordinary circumstances, the Court should waive the

    administrative exhaustion requirement in § 3582.

                               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 88.9

             The undersigned contacted counsel for the United States, James Hayes and

    requested his position on the instant motion. He advised counsel that the government

    opposes the relief requested herein. It takes the position that the Court does not have

    jurisdiction for thirty (30) days from the date the letter was sent to the Warden. (March 31,

    2020.)

             WHEREFORE, the Defendant, ODETTE BARCHA, respectfully requests that this

    Honorable Court grant the relief sought herein and order MR. BARCHA released from prison

    to serve the remainder of her sentence on home confinement.

    .                                                   Respectfully submitted,

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                                                        s/ Samuel J. Rabin, Jr.

                                                        SAMUEL J. RABIN, JR.
                                                        Florida Bar № 273831

                                                        s/ Andrea C. Lopez
                                                        ANDREA C. LOPEZ
                                                        Florida Bar № 109512




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                                        CERTIFICATE OF SERVICE
    I HEREBY CERTIFY that on this 14th day of April 2020, a true and correct copy of the
    foregoing was furnished via the CM/ECF system to all parties designated to receive the
    electronic filings in this cause.

                                                      s/ Samuel J. Rabin, Jr.

                                                      SAMUEL J. RABIN, JR.




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